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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )                   8:13CR108
                           Plaintiff,                  )
                                                       )
         vs.                                           )                    ORDER
                                                       )
KEVIN M. PITMAN,                                       )
                                                       )
                           Defendant.                  )
         This matter is before the court on the motion to continue trial by defendant Kevin M.
Pitman (Pitman) (Filing No. 161).1 Pitman seeks a continuance of the trial of this matter
which is scheduled for November 17, 2014.                        Pitman’s counsel represents that
government’s counsel has no objection to the motion. Upon consideration, the motion will
be granted.


         IT IS ORDERED:
         1.        Pitman’s motion to continue trial (Filing No. 161) is granted.
         2.        Trial of this matter is rescheduled for February 2, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
October 28, 2014, and February 2, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 28th day of October, 2014.
                                                           BY THE COURT:

                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge




         1
             The motion was incorrectly captioned as a motion to continue sentencing.
